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 SILVER & SILVER
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 Carmen Romero and Eric Wright (h/w)        :       Civil Action
         v.                                 :
 Interstate Commercial Real Estate, Inc.    :       No.
         and                                :
 Starbucks Corporation                      :
         and                                :
 SDi LLC                                    :
         and                                :
 John Doe 1                                 :
         and                                :
 John Doe 2                                 :
         and                                :
 John Doe 3                                 :

                                        CIVIL ACTION
                                         COMPLAINT
                                     PREMISES LIABILITY

    1. Plaintiff Carmen Romero (hereinafter referred to as “Ms. Romero”) is an adult individual

        residing at 766 Edden Court, Southampton, PA 18966 and is a resident and citizen of

        Pennsylvania.

    2. Plaintiff Eric Wright (hereinafter referred to as “Mr. Wright”) is an adult individual

        residing at 766 Edden Court, Southampton, PA 18966 and is a resident and citizen of

        Pennsylvania.

    3. At all relevant times, Plaintiffs Carmen Romero and Eric Wright are and have been legally

        married to one another.




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   4. Defendant Interstate Commercial Real Estate, Inc. (hereinafter “Defendant Interstate”) is

      a New Jersey Corporation, with its headquarters at 14000 Horizon Way #100, Mt. Laurel

      Township, NJ 08054.

   5. Defendant Starbucks Corporation is a Washington corporation, with its headquarters at

      2401 Utah Avenue South, Suite 800, Seattle, WA 98134.

   6. Defendant SDi LLC (hereinafter “Defendant SDi”) is a New Jersey Corporation, with its

      headquarters at 14000 Horizon Way #100, Mt. Laurel Township, NJ 08054.

   7. Defendants John Doe 1, John Doe 2 and John Doe 3 are individuals or business entities

      responsible for snow and ice safety on the premises on the date of the accident, if not

      already identified as one of the previously named Defendants.

   8. Regarding the three Doe defendants:

          (a) Defendants’ actual names are unknown to the plaintiff after having
              conducted a reasonable search with due diligence;
          (b) the Doe designations are fictitious;
          (c) a factual description of the unknown defendants is averred with sufficient
              particularity for identification; and
          (d) a reasonable search to determine their actual names has been conducted.
   9. Venue is proper because Defendant Interstate has continuous and systematic affiliations in

      the Eastern District of Pennsylvania and registered itself with the Pennsylvania

      Corporations Bureau to do business in the Commonwealth of Pennsylvania since March

      10, 2005.

   10. Defendant Interstate manages a shopping center on South Broad Street in Philadelphia

      called Jackson Plaza.

   11. Defendant Interstate manages a shopping center on Wayne Avenue in Philadelphia called

      Germantown Plaza.


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   12. Defendant Interstate manages a shopping center on South Broad Street in Philadelphia

      called Stadium Plaza.

   13. Pursuant to 42 Pa.C.S.A. Section 5301(a)(2), by registering to do business in the

      Commonwealth of Pennsylvania, Defendant Interstate has consented to general personal

      jurisdiction in Pennsylvania.

   14. Venue is proper because Defendant Starbucks has continuous and systematic affiliations

      in the Eastern District of Pennsylvania and can be served here at its regular place of

      business, a coffee shop which it operates at 57-63 N. 3rd Street, Philadelphia, PA 19106.

   15. Venue is proper because the amount in controversy is in excess of $75,000, exclusive of

      interests and costs.

   16. Venue is proper because Plaintiffs are citizens of Pennsylvania and there is complete

      diversity of citizenship between the Plaintiffs and Defendants in this matter.

   17. This matter arises out of an accident which occurred on or about February 13, 2021, at

      approximately 8:00 p.m., due to a slip and fall on ice in a parking lot of a Starbucks located

      at 512 Haddonfield Road, Cherry Hill, NJ 08002 in the Chapel Plaza Shopping Center

      (hereinafter referred to as “the premises”).

   18. At times material hereto, Defendant Interstate and/or Defendant SDi was the property

      manager for the Chapel Plaza Shopping Center where the premises is located.

   19. At all times material hereto, Defendants Interstate, Starbucks and/or Defendant SDi owned,

      managed, operated, possessed, maintained, and/or controlled the premises and were

      responsible for keeping it safe for business visitors.




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   20. At all times material hereto, Defendants acted by and through their duly authorized agents,

      servants, workmen, and/or employees, acting within the scope of their authority and

      employment and in the course of Defendants’ respective businesses.

   21. At all times relevant hereto, Ms. Romero was a business invitee and/or licensee lawfully

      upon the premises.

   22. On or about February 13, 2021, at approximately 8:00 p.m., Ms. Romero was a customer

      at the Starbucks located on the premises.

   23. At that time, the Starbucks was open for business.

   24. At the aforementioned time and place, as Ms. Romero exited Starbucks after purchasing

      food and beverage, she slipped and fell on black ice in the parking lot.

   25. Ms. Romero was not able to take the most direct route back to her car because an employee

      of Defendant Starbucks failed to properly salt the sidewalk in front of the store, for which

      Defendant Starbucks was responsible.

   26. Upon information and belief, Defendant Starbucks was aware of the black ice in the

      parking lot and on the sidewalk, but failed to warn its customers, including Ms. Romero,

      or put out signs or cones.

   27. Upon information and belief, Defendant Starbucks was aware of the black ice in the

      parking lot and sidewalk, but failed to inform the appropriate property manager and/or

      snow and ice maintenance company of the hazard to Defendant Starbucks’ customers,

      including Ms. Romero.

   28. At the time of the accident there was no active precipitation.




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   29. As a result of this accident, Ms. Romero suffered serious personal injuries to her head,

      neck, jaw, back, and wrist, including, but not limited to, significant cervical spine disc

      herniations.

   30. At all times material hereto, Defendants owed a duty to Ms. Romero to keep the premises,

      including the parking lot, free from any unreasonably dangerous or hazardous conditions.

   31. At all times material hereto, Defendants owed a duty to Ms. Romero to inspect the

      premises, including the parking lot, for any dangerous or hazardous conditions.

   32. At a time prior to the incident, Defendants had constructive and/or actual notice of the

      dangerous condition of the parking lot, which caused the accident.

   33. At all times material hereto, Ms. Romero acted in a reasonable and prudent manner and

      was free from any comparative negligence.

   34. At the time of the incident, Defendants breached the duty of care owed to Ms. Romero as

      a business invitee and/or licensee.

   35. At all times material hereto, Ms. Romero did not assume the risk of her injuries.

   36. The aforementioned incident and the resulting injuries and/or damages sustained by Ms.

      Romero directly and proximately resulted from the negligence of Defendants, whose

      conduct consisted of, but was not limited to, the following:

          a. Failing to keep the parking lot free from hazardous ice;

          b. Failing to regard the rights, safety, and position of the Plaintiff in and about the area

              of the aforementioned incident;

          c. Hiring individuals and/or companies to provide snow and ice removal services at

              the premises who lacked sufficient training, equipment, skill, experience, and

              dedication to provide those services safely;



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         d. Negligently retaining and/or supervising individuals and/or companies to provide

            snow and ice removal services at the premises who lacked sufficient training,

            equipment, skill, experience, and dedication to provide those services safely;

         e. Permitting an extremely hazardous condition to exist at the premises where the

            Defendants knew of, or should have known of, the dangerous conditions that

            existed;

         f. Failing to have a reasonable snow and ice management plan for the parking lot of

            the premises;

         g. Failing to take corrective action to change snow and ice maintenance procedures

            and practices when Defendants were aware that procedures and practices in place

            were not sufficient to keep the premises reasonably safe;

         h. Failing to inspect the premises in the area of the aforementioned accident in a

            reasonable, adequate, and prudent manner;

         i. Allowing a patch of ice to form and remain in the area where Ms. Romero fell;

         j. Failing to apply, or adequately apply, a frictional substance, salt, and/or another

            material to the area where Ms. Romero fell so as to lessen or eliminate the

            hazardous and dangerous condition caused by aforementioned ice;

         k. Failing to warn the public in general, and Ms. Romero in particular, of the

            aforementioned ice and the dangerous and hazardous conditions caused by it;

         l. Failing to notify the individuals responsible for maintaining snow and ice safety in

            the parking lot of the hazardous conditions in the parking lot prior to the accident;




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          m. Permitting and inviting Ms. Romero to walk in and about the area of the accident

              when Defendants knew or should have known of the dangerous conditions which

              existed;

          n. Failing to issue adequate warning signs, barriers, and/or barricades in an effort to

              alert business invitees and/or licensees of the dangerous condition of the parking

              lot;

          o. Failing to issue any warning, verbal or written, of the dangerous condition of the

              parking lot where business invitees and/or licensees walk;

          p. Leaving snow in and around the parking lot in locations that allowed the snow to

              melt and then refreeze on the blacktop, causing a dangerous artificial condition;

          q. Failing to take adequate precautions to prevent piles of snow in and around the

              parking lot from melting and then refreezing, forming a dangerous artificial

              condition;

          r. Failing to plan for the foreseeable condition of ice forming in the parking lot and

              failing to take reasonable measures to prevent this dangerous condition from

              forming; and

          s. Failing to utilize reasonable care in the inspection, maintenance, and/or repair of

              the premises in question.

   37. As a direct and proximate result of Defendants’ tortious conduct, Ms. Romero has suffered

      and will in the future continue to suffer great pain, agony, mental anguish, and loss of life’s

      pleasures, embarrassment and humiliation and has been and will in the future be hindered

      and prevented from attending to her regular activities to her great detriment and loss.




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    38. As a direct and proximate result of Defendants’ tortious conduct, Ms. Romero has incurred

        bills for medical treatment in excess of $20,000 and will or may incur bills for additional

        medical treatment in the future.

    39. As a further result of Defendants’ tortious conduct, Ms. Romero has incurred and will incur

        in the future other financial losses, including lost wages and reduced earning capacity.

                              COUNT I – NEGLIGENCE
            Carmen Romero v. Defendant Interstate Commercial Real Estate, Inc.


    40. The preceding paragraphs are incorporated by reference as if fully set forth below.

        WHEREFORE, Plaintiff Carmen Romero respectfully requests this Honorable Court to

 enter a judgment in her favor and against Defendant Interstate Commercial Real Estate, Inc. in an

 amount in excess of seventy-five thousand ($75,000.00) dollars in addition to interests, costs, and

 delay damages to the full extent available under the law.

                              COUNT II – NEGLIGENCE
                     Carmen Romero v. Defendant Starbucks Corporation

    41. The preceding paragraphs are incorporated by reference as if fully set forth below.

        WHEREFORE, Plaintiff Carmen Romero respectfully requests this Honorable Court to

 enter a judgment in her favor and against Defendant Starbucks Corporation in an amount in excess

 of seventy-five thousand ($75,000.00) dollars in addition to interests, costs, and delay damages to

 the full extent available under the law.

                                 COUNT III – NEGLIGENCE
                             Carmen Romero v. Defendant SDi LLC

    42. The preceding paragraphs are incorporated by reference as if fully set forth below.

        WHEREFORE, Plaintiff Carmen Romero respectfully requests this Honorable Court to

 enter a judgment in her favor and against Defendant SDi LLC in an amount in excess of seventy-



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 five thousand ($75,000.00) dollars in addition to interests, costs, and delay damages to the full

 extent available under the law.

                               COUNT IV – NEGLIGENCE
                           Carmen Romero v. Defendant John Doe 1

    43. The preceding paragraphs are incorporated by reference as if fully set forth below.

        WHEREFORE, Plaintiff Carmen Romero respectfully requests this Honorable Court to

 enter a judgment in her favor and against Defendant John Doe 1 in an amount in excess of seventy-

 five thousand ($75,000.00) dollars in addition to interests, costs, and delay damages to the full

 extent available under the law.

                                COUNT V – NEGLIGENCE
                           Carmen Romero v. Defendant John Doe 2

    44. The preceding paragraphs are incorporated by reference as if fully set forth below.

        WHEREFORE, Plaintiff Carmen Romero respectfully requests this Honorable Court to

 enter a judgment in her favor and against Defendant John Doe 2 in an amount in excess of seventy-

 five thousand ($75,000.00) dollars in addition to interests, costs, and delay damages to the full

 extent available under the law.

                               COUNT VI – NEGLIGENCE
                           Carmen Romero v. Defendant John Doe 3

    45. The preceding paragraphs are incorporated by reference as if fully set forth below.

        WHEREFORE, Plaintiff Carmen Romero respectfully requests this Honorable Court to

 enter a judgment in her favor and against Defendant John Doe 3 in an amount in excess of seventy-

 five thousand ($75,000.00) dollars in addition to interests, costs, and delay damages to the full

 extent available under the law.




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                                     COUNT VII – NEGLIGENCE
                                          Loss of Consortium
                                    Eric Wright v. All Defendants


     46. The preceding paragraphs are incorporated by reference as if set forth fully below.

     47. As a further result of the aforesaid negligence of Defendants Interstate, Starbucks, SDi,

         John Doe 1, John Doe 2, and John Doe 3, Mr. Wright has been, or will be in the future,

         required to expend various sums of money for medicine and medical attention in or about

         endeavoring to treat and cure his wife of the injuries she sustained as aforesaid.

     48. As a further result of the injuries sustained by his wife, Mr. Wright has been in the past and

         will be in the future deprived of the assistance, companionship, consortium and society of

         his wife, all of which has been and will be to his great damage and loss.

         WHEREFORE, Plaintiff Eric Wright respectfully requests this Honorable Court to enter

  judgment in his favor and against Defendants Interstate Commercial Real Estate, Starbucks

  Corporation, SDi LLC, John Doe 1, John Doe 2, and John Doe 3 in an amount in excess of seventy-

  five thousand ($75,000.00) dollars in addition to interests, costs, and delay damages to the full

  extent available under the law.




                                                               SILVER & SILVER


                                                                    Joseph F. Schwartz, Esq.
                                                               By: _________________________
                                                               Joseph F. Schwartz, Esquire
                                                               Attorney for Plaintiffs

  Date: January 18, 2023




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